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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
                                                   § CASE NUMBER 6:20CR13
v.                                                 §
                                                   §
                                                   §
DAVID CHARLES MEEKS                                §


               ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S
                    REPORT AND FINDING DEFENDANT GUILTY

            The Court referred this matter to the Honorable John D. Love, United States

     Magistrate Judge, for administration of a guilty plea under Federal Rule of Criminal

     Procedure 11. The Magistrate Judge conducted a hearing in the form and manner prescribed

     by Rule 11 and issued Findings of Fact and Recommendation on Guilty Plea.               The

     Magistrate Judge recommended that the Court accept Defendant’s guilty plea and adjudge

     Defendant guilty on Count Three of the Indictment.

            The parties have not objected to the Magistrate Judge’s findings.

            The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty

     Plea of the United States Magistrate Judge. The Court also accepts Defendant’s plea but

     defers acceptance of the plea agreement until after review of the presentence report.

            In accordance with Defendant’s guilty plea, the Court finds Defendant David

     Charles Meeks GUILTY of Count Three of the Indictment, charging a violation of Title 18

     U.S.C. § 924(c) – Possession of a Firearm in Furtherance of a Drug Trafficking Crime.

            So ORDERED and SIGNED this 9th             day of July, 2020.



                                                      ___________________________________
                                                      JEREMY D. KERNODLE
                                                      UNITED STATES DISTRICT JUDGE
